                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )              No. 3:09-cr-00240-17
v.                                                 )
                                                   )              Judge Nixon
LEONARD BAUGH                                      )

                                           ORDER

       On April 2, 2013, the jury in the above-captioned case announced it was unable to reach a

verdict as to Counts 33–36 of the Ninth Superseding Indictment, at which time the Court

declared a mistrial. (Doc. No. 2135.) The Court hereby SCHEDULES retrial of Counts 33–36

of the Ninth Superseding Indictment for May 21, 2013, at 9:00 a.m.

       It is so ORDERED.

       Entered this ___16th ____ day of April, 2013.



                                                   ________________________________
                                                   JOHN T. NIXON, SENIOR JUDGE
                                                   UNITED STATES DISTRICT COURT




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